Case 3:17-cV-01995-ARC Document 1 Filed 10/31/17 Page 1 of 70

 

UNITED STATES DISTRICT COURT FOR TI-IE l\/IIDDLE DISTRICT OF
PENNSYLVANIA

 

LUCILLE JOYNER Individually and as
the Administratrix of the Estate of CIVIL ACTION_LAW
JANET MARGARET RAINS, her

deeeeeed daughter IURY TRIAL DEMANDED
ROBERT DRES SLER, and

JASON MCCLOE, NO.

Plaintiffs
V.

BULOVA TECI-[NOLOGIES GROUP,
[NC.,

BT-TWISS TRANSPORT, LLC,

TWISS TRANSPORT, INC,

 

DISNEY WORLDWIDE SERVICES, _
INC., and

ROBERT EDW|N HAINES

Defendants

 

Case 3:17-cV-01995-ARC Document 1 Filed 10/31/17 Page 2 of 70

COMPLAINT
AND NOW COME the Plaintiffs Lucille Joyner, Individually and as
Administratrix of the Estate of Janet M. Rains, Robert Dressler, and Jason McCloe
(collectively “Plaintiffs”), by and through their undersigned legal counsel, to
hereby complain against the Defendants Twiss Transport, Inc., BT-Twiss
Transport, LLC, Bulova Technologies Group, Inc., Disney Worldwide Services,
lnc., and Robert Edwin I-Iaines (collectively “Defendants”) as follows:
OVERVIEW
Disney Worldwide Services, Inc. arranged for the transportation of a truck
load of oil dorn Cargill, Incorporated in Gainesville, Georgia to Disney Worldwide
Services, Inc. in Lake Buena Vista, Florida. To transport the oil, Disney
WorldWide Services, Inc. improperly brokered or sub-contracted the transportation
of the oil to Twiss Transport, Inc. On July 14, 2017, in the course of transporting
the oil for Twiss Transport, Inc., Defendant Robert EdWard I-laines drove the
company’s tractor-trailer off the roadway of I-75 southhound in Marion County,
Florida striking multiple Vehicles lawli.llly stopped on the shoulder of the road,
causing the death of Janet Rains and severe and permanent injuries to Plaintiffs
Robert pressler and Jason McCloe (“the Crash”). Other people Were also mairned

and killed in the Crash.

Case 3:17-cV-01995-ARC Document 1 Filed 10/31/17 Page 3 of 70

PARTIES

l. Plaintiff Lucille Joyner (“Ms. Joyner”) is a competent adult individual
who resides at 1006 Colonial Road, Franklin Lakes, New Jersey 07417. At all
relevant times hereto, Ms. `Joyner Was the mother of Janet M. Rains, deceased. Ms.
Joyner has been duly appointed as the Administratrix of the Estate of Janet M.
Rains. A copy of the Appointment Certificate is attached hereto as EXhibit 1.

2. Prior to her death, Janet M. Rains (“Ms. Rains”) resided at 127 Broad
Street, Pittston, Pennsylvania 18640.

3. Robert Dressler (“Mr. Dressler”) is a competent adult individual Who
resides at 152 1/2 South Main Street, Wilkes-Barre, Pennsylvania 18705.

4. Jason McCloe (“Mr. McCloe”) is a competent adult individual Who
resides at 109 Midland Court, Wilkes-Barre, Pennsylvania 18702.

5. Defendant TWiss Transport, Inc. (“TWiss”) (USDOT#949564_ / l\/IC#
407212) is Florida Protit Corporation With a principal place of business located at
1501 Lake Avenue SE, Largo, Florida 33 771.

6. Defendant BT-TWiss Transport, LLC (“BT-Tvviss”) is a Florida
Limited Liability company With a principal place of business located at 1501 Lake

Avenue SE, Largo, Florida 33771.

Case 3:17-cV-01995-ARC Document 1 Filed 10/31/17 Page 4 of 70

7. Defendant Bulova Technologies Group, Inc. (“Bulova”) is a Florida
Profit Corporation with a principal place of business located at 1501 Lake Avenue
SE, Largo Florida 33 771.

8. Defendant Disney Worldwide Services, Inc. (“Disney”) is a Florida
Profit Corporation with a principal place of business located at 1375 East Buena
Vista Drive, 4th Floor North, Lake Buena Vista, Florida 32830.

9. Defendant Robert Edwin Haines (“Haines”) is, based upon
information and belief, a competent adult individual who resides at 0372 126th
Avenue Lot 73, Largo, Florida 33773.

10. At all times relevant hereto, Defendants Twiss, BT-Twiss, Bulova,
and Disney Were or should have been authorized interstate motor carriers
authorized to transport goods in interstate commerce and in the Commonwealth of
Pennsylvania pursuant to one or more permits issued by the lnterstate Commerce
Commission and/or by the United States Department of Transportation
(“USDOT”). Accordingly, Defendants Twiss, BT-Twiss, Bulova, and Disney were
subject to all state and federal laws, statutes regulations and industry standards
governing the hiring of safe and qualified commercial drivers, the safe
maintenance and operation of commercial motor vehicles, and thel safe brokering
of goods in interstate commerce, including without limitation Title XXIII of the

Florida Statutes governing motor vehicles and the Federal Motor Carrier Safety

Case 3:17-cV-01995-ARC Document 1 Filed 10/31/17 Page 5 of 70

Regulations (“FMCSR”) set forth subchapters A and B of Chapter III of the Code
of Federal Regulations, Title 49 - Transportation.

11. At all times relevant hereto, Haines was a class A licensed motor
vehicle operator driving a 2014 Peterbilt semi bearing VIN
#lXP4D49X4ED240308 towing a trailer bearing VIN #1JJV532B5AL354871
(herein collectively referred to as “Tractor Trailer”). Accordingly, Haines was
subject to all state and federal laws, statutes, regulations and industry standards
governing the safe maintenance and operation of commercial motor vehicles and
tandem trailers including, without limitation, Title XXIII of the Florida Statutes
governing motor vehicles and the Federal Motor Carrier Safety Regulations set
forth subchapters A and B of Chapter III of the Code of F ederal Regulations, Title
49 - Transportation.

12. At all times relevant hereto, the Tractor Trailer was owned by Twiss,
BT-Twiss, and/or Bulova and Was being operated and/or controlled by Haines with
Defendants’ consent for the benefit of Defendants Twiss, BT-Twiss, Bulova and/or
Disney. ;

13. At all times relevant hereto, Haines was employed and/or contracted
to perform services for and Was operating the Tractor Trailer for Defendants Twiss,
BT-Twiss, Bulova, and/or Disney under Defendant Twiss’ USDOT operating

authority and was subject to Defendants Twiss, BT-Twiss, Bulova and/or Disney’s

Case 3:17-cV-01995-ARC Document 1 Filed 10/31/17 Page 6 of 70

control or right to control, such that the Defendants should be considered his actual
and statutory employer and therefore vicariously liable for Haines’ negligence and
recklessness

14. At all relevant time's hereto, Twiss, BT-Twiss and Bulova acted as a
single entity, and operated and conducted business as a single entity for
transporting goods in interstate commerce.

15. At all relevant times hereto, Twiss, BT-Twiss and Bulova shared the
same address, phone number, vehicles, officers, directors, and employees as if it
was a single entity. In fact, the three entities were so interrelated and operated so
much as a single entity that they filed a single consolidated financial statement

16. At all relevant times hereto, Twiss, BT-Twiss and Bulova acted as a
joint venture for transporting goods in interstate commerce

17. At all relevant times hereto, the joint venture agreement between
Twiss, BT-Twiss and Bulova provided for Bulova’s 30% ownership interest:in
Twiss. Through the acquisition of the shares of Twiss and the formation of the
transportation joint venture BT-Twiss, Bulova and BT-Twiss were fully
responsible ;for operational management of Twiss, played an active role and
involvement in the ongoing activities of Twiss, and had full power to direct the
activities of Twiss. At all times material hereto, Twiss, BT-Twiss and Bulova

were engaged in a business venture whereby Twiss and BT-Twiss provided the

Case 3:17-cV-01995-ARC Document 1 Filed 10/31/17 Page 7 of 70

expertise, professional services and licensures necessary for freight transportation
of goods and broker logistic services in interstate commerce and Bulova provided
setting, operational infrastructure, equipment, staffing, technology, materials,
advertising, necessary funding, and public relations activities for the functioning of
the freight transportation of goods and broker logistic services.

18. At all times material hereto, Twiss, BT-Twiss and Bulova had entered
into a continuing business transaction in which they consolidated all entities and
entered into one single entity operating as a joint venture providing liill service
freight transportation, freight storage, and neight logistics brokering, operating and
utilizing a fleet of semi-trucks, trailers, warehouses, and facilities. The entities
combined their resources, officers, personnel and/or efforts and agreed to
undertake a common interest in the delivery of services in the commercial trucking
industry providing freight transportation of goods and broker logistics in interstate
commerce Twiss, BT-Twiss and Bulova shared in all profits that were generated

19. Accordingly, Twiss, BT-Twiss, and/or Bulova are personally liable,
jointly .and severally, in partnership, joint venture or sole proprietorship for' the
Crash and resulting death of Ms. Rains and permanent injuries and damages
Suffered by Mr. Dressler and Mr. McCloe, claimed herein.

20. At all relevant times hereto, Disney contracted with Defendants

Twiss, BT-Twiss and/or Bulova to move the load being transported by Haines.

Case 3:17-cV-01995-ARC Document 1 Filed 10/31/17 Page 8 of 70

21. At all relevant times hereto, Defendant Disney acted as a motor carrier
as well as the broker of the load_being transported at the time of the Crash, despite
having no operating authority to do so.

22. Each Defendant acted in a manner that either alone or combined and
occurring With the actions of other Defendants’ acts of negligence, directly and
proximately caused the Crash and the resulting injuries suffered to the Plaintiffs.

23. Plaintiffs, Lucille Joyner Individually and as the Administratrix of the
Estate of Janet M. Rains, Robert Dressler and Jason McCloe seek damages for all
harms and losses permissible under Pennsylvania law, including, but not limited to,
the conscious pain and suffering, disfigurement and mental anguish caused as a
result of their respective injuries.

JURISDICTION & VI_ENUE

24. At all relevant times hereto, Defendants Twiss, BT-Twiss, Bulova,
Haines and Disney regularly and systematically conducted business in
‘ Pennsylvania

25. At all relevant times hereto, upon information and belief, Defendants
Twiss, BT-Twiss, Bulova, Haines and Disney owned, controlled, and/or operated

‘ real property in Pennsylvania

Case 3:17-cV-01995-ARC Document 1 Filed 10/31/17 Page 9 of 70

26. At all relevant times hereto, Defendants Twiss, BT-Twiss, Bulova,
Haines and Disney regularly and systematically used roads and paid tolls in
Pennsylvania in order to realize a financial gain.

27. At all relevant times hereto, as part of its logistics network, tractor
trailers owned, operated, inspected, repaired and/or supervised by Defendants
Twiss, BT-Twiss, Bulova, and Disney and/or driven by Haines regularly and
routinely passed through and made stops in Pennsylvania

28. By Way of example, upon information and belief, Defendants Twiss,
BT-Twiss, and/or Bulova were involved in a motor vehicle Crash in Pennsylvania
on May 29, 2016.

29. Upon information and belief, Defendants Twiss, BT-Twiss, and/or
Bulova had a history of violations, in the Cornmonwealth of Pennsylvania, in the
twenty-four (24) months immediately preceding the Crash, including, but not
limited to:

a. 02/09/2017 - Unsafe Driving Violation: 392.2€; Hours of Service

Compliance Violation: 395.3(a)(3)(ii); Hours of Service Compliance
Violation: 395 :3A3-PROP;

b. 06/20/2016 - Hours of Service Compliance Violation: 395.8(f)(1);

l c. 07/17/2015 - Unsafe Driving Violation: 392.16; Unsafe Driving

Violation: 392.2-SLLSZ.

Case 3:17-cV-01995-ARC Document 1 Filed 10/31/17 Page 10 of 70

30. At all relevant times hereto, Twiss, BT-Twiss and/or Bulova had
pleaded guilty to numerous citations in the state of Pennsylvania, including, but not
limited to:

a. 09/26/2012 _ 75 § 4107 §§ B2.1 - Unlawful Act. - Operating with a

Hazardous Brake System;

b. 09/26/2012 ~ 75 § 4107 §§ BZ - Operate, or cause to permit another
person to operate a vehicle that is in unsafe condition or in violation
of department regulations;

c. 11/10/2013 - 75 § 3353 §§ A3ll - Illegal Park Where Official Signs
Prohibit; and

d. 07/28/2015 - 75 § 4533 ~ Splashguard Regulation Violation.

31. At all relevant times hereto, Twiss, BT-Twiss, Bulova, Disney and
Haines have used Pennsylvania roads, tolls and used =Pennsylvania resources,
including but not limited to the Pennsylvania Judicial system.

32. At all relevant times hereto, Defendants Twiss, BT-Twiss, and Bulova
have contracted with Allegheny Machine Tool Systems alnc., and Pennco
Machinery, LLC., both located in Pennsylvania, to be the exclusive distributors of
their products.

33. Accordingly, Defendants Twiss, BT-Twiss, Bulova, and Haines have

minimum contacts in Pennsylvania and within the Middle District.

10

Case 3:17-cV-01995-ARC Document 1 Filed 10/31/17 Page 11 of 70

34. At all relevant times hereto, Defendants Twiss, BT-Twiss, Bulova,
and Haines purposefully availed themselves to Pennsylvania and the Middle
District.

35. At all relevant times hereto, Defendants Twiss, BT-Twiss, and Bulova
subjected themselves to jurisdiction by Pennsylvania courts. g Miller v. iTwiss
Transport, Inc, et. al., 2:14-cv-01782.

36. Upon information and belief, between 2016 and 2017, Disney has
performed, or is scheduled to perform, approximately 56 “Disney on Ice” shows in
the Commonwealth of Pennsylvania, including 20 such shows in the Middle
District.

37. In fact, Disney is scheduled to perform a “Disney Live” show in
Wilkes-Barre, Pennsylvania on November 10, 2017.

38. These “Disney Live” shows require, at a minimum, that Disney
moved goods and products throughout Pennsylvania on a regular and systematic
basis.

39. Disney necessarily,.obtained permits for production of such shows.

40. Furthermore, Disney owns and/or operates a “Disney Store” in
Hershey, Pennsylvania, which is located in the Middle District of Pennsylvania

41. Disney regularly and systematically markets, advertises, and sells its

products and services to consumers in the Middle District of Pennsylvania

11

Case 3:17-cV-01995-ARC Document 1 Filed 10/31/17 Page 12 of 70

42. At all relevant times hereto, Disney regularly and systematically
conducted business in Pennsylvania

43. Disney had minimum contacts in Pennsylvania and the Middle
District.

44. At all relevant times hereto, Disney purposefully availed itself to
Pennsylvania and the Middle District.

45. At all relevant times hereto, Defendants movement of goods and
services gave rise to the subject collision providing a Specific contact for in
personam jurisdiction in Pennsylvania

46. At all relevant times hereto, Ms. Rains, Mr. Dressler, and Mr. McCloe
are/were Pennsylvania residents, all residing within the Middle District.

47. At all relevant times hereto, the Estate of Ms. Rains was opened in the
Middle District of Pennsylvania

48. At all relevant times hereto, Mr. Dressler and ll\/Ir. McCloe received
treatment for their injuries in the Middle District of Pennsylvania

49. Accordingly, this Honorable Court has subject matter jurisdiction over
this action pursuant to 28 U.S.C. §1332 because (a) there is complete diversity of
citizenship between Plaintiffs and Defendants; and (b) the matter in controversy
exceeds the jurisdictional limit.

50. This Honorable Court is the proper venue under 28 U.S.C. §l39l(d).

12

Case 3:17-cV-01995-ARC Document 1 Filed 10/31/17 Page 13 of 70

FACTS COMMON TO ALL COUNTS

A. The Collision

51. On July 14, 2017 around noon, Plaintiffs were in Florida as part of the
band Adrenaline Mob’s (“the Band”) “We the People Tour.” They were traveling
South on Interstate 75 (SR-93) near mile marker 372 in Marion County, Florida _
heading to a scheduled performance later that day in St. Petersbui'g, Florida. The
weather conditions were good and visibility on the roadway was clear.

52. The members of the Band and touring crew were traveling-in two
separate vehicles, a 1999 Chevrolet Landau RV bearing license plate R58HYF,
(“RV”) being driven by Mr. McCloe, and a 2003 GMC Savanna Van -- bearing
license plate PRIAPUS, (“Van”), being driven by Jordan Cannata (“Mr. Cannata”),
which was pulling a 2007 EZ Haul utility trailer with the band’s musical
equipment bearing license plate AN81425, (“Utility Trailer”).

5.3. At about noon, the RV experienced a flat tire. Mr. McCloe pulled the
RV completely out of the travel lanes and onto the West portion of the paved
shoulder of I-75 €South, near mile marker 372. Mr. Cannata also pulled the Van
and Utility Trailer completely out of the travel lanes and onto the West portion of
the paved shoulder of I-75 South, near mile marker 372. The Van and Utility

Trailer were stopped in front of the RV.

13

Case 3:17-cV-01995-ARC Document 1 Filed 10/31/17 Page 14 of 70

54. The RV, Van and Utility Trailer Were completely stopped and out of
the travel lanes of Ij75 South when the Crash occurred.

55. At about 12:20 p.m., Haines was also traveling south on I-75 while
operating the Tractor Trailer for Defendants Twiss, BT-Twiss, Bulova, and/or
Disney as set forth herein and in his capacity as agent, servant, worl<_man, and/or
employee of Twiss, BT-Twiss, Bulova, and/or Disney.

56. Haines operated the Tractor Trailer in a reckless, careless, and
negligent manner, so as to drive off of the roadway and Crash into the RV, Utility
Trailer and Van.

57. At the time of the Crash, upon information and belief, Plaintiffs l\/lr.
McCloe, Mr. Dressler, and Ms. Rains, along with Russell Allen (“l\/lr. Allen”) and
Dale Campiglia (“Mr. Campiglia”) were all located inside the disabled RV. Mr.
Cannata and Michael Orlando (“Mr. Orlando”) were inside of the stopped Van.
Dave Zablidowsky (“Mr. Zablidowsky”) was standing on the shoulder near the
side of the RV.

5 8. Upon information and belief`, the collision ripped open the left side of
the RV and caused the RV to propel forward and impact Mr. Zablidowsky, who
was thrown down and pinned underneath the RV. The RV then burst into flames
and caught fire, killing Mr. Zablidowsky. The Tractor Trailer then collided with

the Utility Trailer and Van.

14

Case 3:17-cV-01995-ARC Document 1 Filed 10/31/17 Page 15 of 70

59. As a result of the impact and fire, Ms. Rains suffered horrific, serious
and severe burns throughout her body and Mr. Allen with the help of Good
Samaritan passing motorists had to pull Ms. Rains from the burning RV.

60. As a result of the Crash, Plaintiffs Mr. McCloe and Mr. Dressler
sustained severe and permanent injuries and witnessed the death of Mr.
Zablidowsky and severe burning of Ms. Rains.

B. DefendaLRobert Haines

61. On the aforementioned date, place, and time, Haines operated the
aforesaid Tractor Trailer in such a reckless, careless, and negligent manner so as to
drive off of the roadway causing this Crash and the fire resulting therefrom.

62. At all times relevant, upon information and belief, Haines was under
the influence of the following medications: Albuterol Sulfate Inhalation Solution;
Amlodipine Besylate;- Asprin; Clopidogrel; Irbesartan; Linisopril; Metoprolol;
Pantoprazole; Pramipexole Dihydrochloride; Proair HFA Inhalation Aerosol; and
Symbicort budesonide 160mg/formoterol fumarate dehydrate.

63. Several of the medications, individually and." when combined with the
other listed medications, have the known side effect of causing drowsiness and/or
other side effects that should prevent and disqualify a professional truck driver

from operating any commercial motor vehicle, including the Tractor Trailer.

15

Case 3:17-cV-01995-ARC Document 1 Filed 10/31/17 Page 16 of 70

64. Upon information of belief, at the time of the Crash, Haines was in
violation of the FMCSR hours of service limits and consciously chose to operate
the Tractor Trailer in a fatigued condition. Moreover, Twiss, BT-Twiss, Bulova,
and/or Disney participated in, knew, or should have known that Haines was
operating over hours, driving while lfatigued and otherwise operating the Tractor
Trailer in an unsafe, dangerous and reckless condition in violation of the FMCSR’s
and Florida law.

65 . At all relevant times, upon information and belief, Haines’ fatigued
and medicated condition impaired his judgment, perception and reaction to such an
extent that he fell asleep or otherwise inexplicably drove off the highway, onto the
shoulder striking the RV, Utility Trailer and Van without braking.

66. At all relevant times, Haines had an unsafe history of motor vehicle
violations including, but not limited to:

a. Driving 15 -20 mph above limit;

b. Unlawful speed in a work zone /l school zone;
§c. Following too closely; and
. d. Driving ll-'l4 mph above the speed limit.

67. At all relevant times, Twiss, BT-Twiss, Bulova, and/or Disney knew
or should have known that Haines failed and/or refused to list the above motor

vehicle violations on his employment application.

16

Case 3:17-cV-01995-ARC Document 1 Filed 10/31/17 Page 17 of 70

68. In fact, Haines had approximately thirty-five (35) violations, including
multiple hours of service violations, in the thirty (30) days immediately preceding
the Crash.

69. At all relevant times, Twiss, BT-Twiss, Bulova, . and/or Disney
permitted Haines to operate the Tractor Trailer even though those Defendants
knew or should have known that Haines tested positive, or refilsed to test, on a pre-
employment drug or alcohol test. d

170. At all relevant times, Twiss, BT-Twiss, Bulova and/or Disney
permitted Haines to operate the Tractor Trailer even though those Defendants
knew or should have known that Haines did not provide proof that he successfully
completed the DOT return-to-duty requirements, specific to alcohol and drug use
when a driver tests positive and/or refuses a drug or alcohol test.

7l. At all relevant times, Defendant Haines also had a medical history of,
inter alia, the following: Heart disease; Pacemaker, stents, implantable devices, or
other heart procedures; high blood pressure; high cholesterol; lung disease; kidney
problems, kidney sto.nes, or pain/problems with urination; stomach, liver, or .
digestive problems; diabetes or blood sugar problems, insulin used; anxiety,
depression, nervousness, other mental health problems; and fainting or passing out.

72. Several of Haines’ medical conditions, individually and when

combined with his other medical conditions, should prevent and disqualify a

17

Case 3:17-cV-01995-ARC Document 1 Filed 10/31/17 Page 18 of 70

professional truck driver from operating a commercial motor vehicle, including the
Tractor Trailer.

73. At all relevant times, TWiss, BT-Twiss, Bulova and/or Disney
permitted Haines to operate a Tractor Trailer under their control when those
Defendants knew or should have known that Haines required periodic medical
monitoring

74. At all relevant times, Twiss, BT-Twiss, Bulova and/or Disney failed
to verify that Haines received periodic medical monitoring as required and still
permitted Haines to operate the Tractor Trailer under their control.

75 . At all relevant times, Twiss, BT-Twiss, Bulovai and/or Disney knew
or should have known that Haines had a history of being deemed medically
disqualified from operating a commercial motor vehicle yet permitted Haines to
operate the Tractor Trailer under their control while Haines’ ability and alertness
were so impaired, through fatigue, illness or otherwise, that he was unsafe to
operate the Tractor Trailer.

76. At all relevant times, Twiss, BT-Ti)viss, Bulova, and!or Disney
continued to allow Haines to operate the Tractor Trailer when they knew or should
have known that Haines’ medical history made him a danger to the driving public.

77. At all relevant times, upon information and belief, Twiss, BT-Twiss,

and/or Bulova had a propensity for motor vehicles crashes including, but not

18

Case 3:17-cV-01995-ARC Document 1 Filed 10/31/17 Page 19 of 70

limited to, approximately 14 motor vehicle crashes in the 24 months preceding the
instant Crash, 10 of which involved bodily injuries and one crash involved a
fatality. That information was known and/or readily available to BT-Twiss,
Bulova, and Disney, all before this Crash that killed 2 people and injured 6 people.
78. At all relevant times, upon information and belief, Twiss, BT-Twiss,
and/or Bulova had a propensity for violations, including, but not limited to,
approximately 87 violations in the 24 months preceding the Crash. That
information was known and/or readily available to BT-Twiss, Bulova, and Disney.
79. At all relevant times, the FMCSA as part of its Safety Management
System maintained a user-friendly website that was available to the public that
tracks the registration, safety and compliance of all motor carriers that have a
USDOT number, like Twiss. The online FMCSA information also provided
historical information and easy to understand explanations of how to use the site
and what each category of information and score means. The FMCSA’s online
public information also listed the crashes and safety violations of Twiss for the last
24 months.
80. BT-Twiss, Bulova, and/or Disney were aware of the FMCSA website.
81. At all relevant times, the FMCSA website contained information that
should have alerted BT-Twiss, Bulova, and Disney that Twiss was an unsafe motor

carrier that utilized unsafe drivers and dangerous equipment

19

Case 3:17-cV-01995-ARC Document 1 Filed 10/31/17 Page 20 of 70

82. Moreover, Twiss, BT-Twiss, and Bulova share offices, officers,
directors and common ownership. Accordingly, BT-Twiss and Bulova are charged
with actual and constructive knowledge of all of the facts and information
available to Twiss, which showed prior to the Crash that Twiss was lan unsafe
motor carrier that utilized unsafe drivers and dangerous equipment

83. Despite Twiss’ deplorable safety record, incompetence, and
dangerous behaviors, BT-Twiss, Bulova, and Disney negligently, recklessly and
with conscious disregard for the safety of the driving public operated, hired and
retained Twiss to deliver goods to its customers using tractors and trailers.

84. Bulova had the contractual right to and/or exercised such control over
the transportation of the load in question, Haines and the Tractor Trailer, that
Haines, Twiss and BT-Twiss should be considered Bulova’s agent

85. Disney had the contractual right to and/or exercised such control over
the transportation of the load in question, Haines and the Tractor Trailer, that
Haines, Twiss, BT-Twiss, and Bulova should be considered Disney’s agent

86. Disney had the contractual right to and/or exercised such control over
the transportation of the load in question, the Tractor Trailer, Haines, Twiss, BT-

Twiss and/or Bulova that they each should be considered Disney’s agent j

20

Case 3:17-cV-01995-ARC Document 1 Filed 10/31/17 Page 21 of 70

C. Janet Rains Iniuries and Damages

87. As a result of the Crash, and the aforesaid recklessness, carelessness,
and negligence, Ms. Rains suffered severe burns to over 62% of her total body. She
was transported to UF Shands Hospital in Gainesville, Florida where she lived in
pain and agony for 40 days. Due to her prolonged hospitalization and
complications h~om her severe burns and other injuries, Janet Rains died on August
23, 2017.

88. Plaintiff, Lucille Joyner, Individually and as the Administratrix of the
Estate of Janet Rains, deceased, brings this action pursuant to the Pennsylvania
Wrongful Death Act, 42 Pa.C.S.A. §8301 on behalf of the Estate of the Decedent,
Ms. Rains, and on behalf of those entitled by law to recover damages from the
wrongful death of the Decedent.

89. The names and addresses of all persons legally entitled to recover
damages for the death of the Decedent and their relationship to the Decedent, Ms.
Rains, are as follows:

a. Lucille Joyner, 1006 Colonial R'oad, Franklin Lakes, New Jersey

07417, surviving mother;
b., John K. Rains, III, 527 Lakeside Road, Hewitt, New Jersey 07421,

surviving brother.

21

Case 3:17-cV-01995-ARC Document 1 Filed 10/31/17 Page 22 of 70

90. The Decedent did not bring any action for wrongful death and
survival against the Defendants during her lifetime.

91. Lucille Joyner, by reason of the death of the Decedent, has suffered
fiduciary loss, expenses of last illness, and expenses of administration of the
Estate. Ms. Joyner has also suffered mental anguish, pain and suffering, loss of
support and services, loss of companionship, consortium, love, care, assistance,
attention, protection, advice, guidance, counsel, instruction, and other damages

(“Wrongful Death Damages”).

D. _Robert pressler’s Iniuries and Damag§

92. As a result of the Crash, Mr. Dressler suffered severe injuries and
resulting pain, suffering, disability, disfigurement mental anguish, loss of capacity
for the enjoyment of life, expense of hospitalization, inconvenience, medical and
nursing care and treatment, and aggravation of a previously existing condition The
losses are permanent and continuing, and he will continue to suffer these losses in

i

the mture (“Mr. Dressler’s Damages”)
E.i Jason McCloe’s Injuries and Damag` es

l 93. As a result of the Crash, Mr. McCloe suffered severe injuries and
resulting pain, suffering, disability, disfigurement, mental anguish, loss of capacity
for the enjoyment of life, expense of hospitalization, inconvenience, medical and
nursing care and treatment and aggravation of a previously existing condition. The

22

Case 3:17-cV-01995-ARC Document 1 Filed 10/31/17 Page 23 of 70

losses are permanent and continuing, and he will continue to suffer these losses in
the future (“Mr. McCloe’s Damages”).

94. As a result of the aforesaid injuries, and the natural consequences
thereof, Plaintiffs Dressler and McCloe, as of the time of the filing of this
Complaint, have required treatment Hom, and continue to require treatment for the
aforesaid injuries and the natural consequences thereof.

95. All of the treatment for Plaintiffs’ injuries and the natural
consequences thereof, has been deemed reasonable and necessary.

96. As a result of the aforesaid injuries, and the natural consequences
thereof, Plaintiffs sustained a loss of the everyday pleasures and enjoyments of life,
and will continue to suffer the same for an indefinite period of time into the future.

?7:_“,._ ssi result Of sistersth rises ed tr reel foresee
thereof, Plaintiffs sustained embarrassment and humiliation and will continue to
suffer the same for an indefinite period of time into the future.

98. As a result of the aforesaid injuries, and the naturali consequences
thereof, Plaintiffs suffered physical and mental pain and suffering and will
continue to suffer the same for an indefinite period of time into the future. d

99. As a result of the negligence, carelessness, and recklessness of

Haines, Twiss, BT-Twiss, Bulova, and Disney, Plaintiffs have suffered such harms

as have been previously stated.

23

Case 3:17-cV-01995-ARC Document 1 Filed 10/31/17 Page 24 of 70

100. At all relevant times hereto, Plaintiffs acted in a safe, prudent, and
reasonable manner and in no way contributed to their injuries or damages

COUNT I

Lucille Joyner, Individually And As The Administratrix Of The Estate Of
Janet Rains, her daughter Wrongf`ul Death v. Defendant Haines

 

All allegations and causes of action in this Complaint, pled above and
below, are incorporated into this cause of action by this reference

101. Haines had a duty to drive the Tractor Trailer in a safe and reasonable
manner and obey all traffic and other commercial motor vehicle safety laws.

102. _On July 14, 2017, Haines breached these duties when he drove the
Tractor Trailer off the roadway, striking the RV, Van and Utility Trailer and killing
Ms. Rains. In addition to driving too fast for the conditions, failing to keep the
Tractor Trailer in his lane and other violations, Haines was driving the Tractor
Trailer while fatigued as evidenced, in part, by the fact that he had substantially
exceeded the hours-of-service regulations that impose limits on the number of
hours a commercial motor vehicle driver can safely drive.

103.. Haines’ negligence and recklessness was a direct land proximate cause
of Ms. Rains’ injuries and death and the Wrongful Death Damages. l

104. Haines’ actions were reckless and demonstrate a conscious disregard

of or indifference to the life, rights and Safety of Ms. Rains and others, which

24

Case 3:17-cV-01995-ARC Document 1 Filed 10/31/17 Page 25 of 70

Haines knew, or should have known, is reasonably likely to result in injury,
damage or death. Accordingly, Plaintiff Joyner demands punitive damages

WHEREFORE, the Plaintiff, Lucille Joyner, Individually and as the
Administratrix of the Estate of lJanet Rains, hereby seeks all damages allowed
under the laws of the Commonwealth of Pennsylvania in addition to punitive
damages from the Defendant, Robert Edwin Haines, under the applicable statutes
of the Commonwealth of Pennsylvania and the Federal and Middle District Rules
of Court.

C_OUNT II
Lucille Jovner. Individually And As The Administratrix Of The Estate _______Of`

Janet Rains, her daughter Wrongful Death Vicarious Liability v. Defendant
Twiss

 

All allegations and causes of action in this Complaint, pled above and
below, are incorporated into this cause of action by this reference
105. At all relevant times, Haines was the employee, agent, servant, or

independent contractor for Twiss and operating the Tractor Trailer in| the course
and scope of this employment Twiss, therefore, is vicariously liable for the acts of
Haines. f

106. In the alternative, Twiss had the right to exercise control over Haines’

work in connection with the load` and/or direct the manner in which the details of

work were executed

25

Case 3:17-cV-01995-ARC Document 1 Filed 10/31/17 Page 26 of 70

107. Operating a tractor trailer of the size and weight of the load involved
in this collision may be carried out safely, but it is likely to cause injury if
precautions are not taken.

108. Without regard to employment or agency relationship, Twiss is an
interstate motor carrier and the registered owner of the USDOT number displayed
on the Tractor Trailer involved in this collision.

109. Twiss is therefore responsible for the acts of Haines as a matter of law
and the resulting Wrongfiil Death Damages.

WHEREFORE, the Plaintiff, Lucille Joyner, Individually and as the
Administratrix of the Estate of Janet Rains, hereby seeks all damages allowed
under the laws of the Commonwealth of Pennsylvania in addition to punitive
damages from the Defendant, Twiss Transport lnc., under the applicable statutes of
the Commonwealth of Pennsylvania and the Federal and Middle District Rules of
Court.

COUN'I` III 1
Lucille Joyner, Individually And As The Administratrix Of The_Estate Of
Janet.Rains,_her daughter Wrongful Death Active Negligence v. Defendant
- mae

All allegations and causes of action in this Complaint, pled above and

below, are incorporated into this cause of action by this reference

110. Twiss owed Plaintiffs a duty to transport or arrange for transport of

the load in question with due care and failed to do so.

26

Case 3:17-cV-01995-ARC Document 1 Filed 10/31/17 Page 27 of 70

lll. Twiss undertook the duty to transport or arrange for the transport of
this load in a commercial motor vehicle and therefore owed Plaintiffs the duty to
discharge the undertaken duty in a reasonably prudent manner and breached its
- undertaken duty as set forth herein.

112. Moreover, Twiss had an independent duty to act reasonably in hiring,l
instructing, training, supervising and retaining its drivers and other employees and
agents, including Defendant Haines; promulgate and enforce policies, procedures,
and rules to ensure that its drivers and vehicles were reasonably safe; and exercise
' reasonable care in entrusting its vehicles and equipment to responsible, competent

and qualified drivers.

113. Twiss breached these duties by, among other things, failing to
investigate Haines’ background; negligently hiring, training, retaining and
supervising Haines; negligently entrusting the Tractor Trailer to Haines despite his
dangerous driving propensity, medical issues, medications and fatigue; permitting

: Haines to operate the Tractor Trailer while ill, fatigued and over hours; knowingly
_ violating federal regulations and state;`laws regarding theiresponsib`ilities_of motor
carriers and the safe operation of commercial motor vehicles; having a negligent
mode of operation and poor safety culture that created a danger to all motorists
d including Plaintiffs; knowingly violating federal and state laws regarding the

responsibilities of motor carriers and the safe operation of commercial motor
l

27

Case 3:17-cV-01995-ARC Document 1 Filed 10/31/17 Page 28 of 70

vehicles; and failing to exercise reasonable care under ali of the surrounding
circumstances

114. Twiss’ negligence was a direct and proximate cause of Ms. Rains’
injuries and death and the Wrongful Death Damages.

115. Furthermore, Twiss acted in conscious disregard for the rightsl and
safety of the motoring public by placing more emphasis on profits than on safety
and by habitually and recklessly disregarding state and federal laws and regulations
and industry standards governing the safe hiring, training and retention of tractor
trailer drivers, the safe operation of a motor carrier, and the safe operation of
commercial motor vehicles, such that it created a culture of danger and zone of risk
that was reasonably anticipated to cause injury and death to the traveling public.

116. Twiss’ actions Were reckless and demonstrate a conscious disregard of
or indifference to the life, rights and safety of Ms. Rains and others, which Twiss
knew, or should have known, is reasonably likely to result in injury, damage or
death. Accordingly, Plaintiff Joyner demands punitive damages.

WHEREFORE, the _Plaintiff, Lucille Joyner, Individually and as the
Adminisfratrix of the Estate of Janet Rains, hereby seeks all damages allowed
under the laws of the Commonwealth of Pennsylvania in addition to punitive

damages from the Defendant, Twiss Transport Inc., under the applicable statutes of

28

Case 3:17-cV-01995-ARC Document 1 Filed 10/31/17 Page 29 of 70

the Commonwealth of Pennsylvania and the Federal and Middle District Rules of
Court
COUNT IV

Lucille Jovner, Individuallv Ai_id As The Admin_i_stratrix Of The Estate Of
Janet Rains, her daughter Wrongf`ul Death Neg§gent and/or Reckless

Hirinngupervision/Retention v. Defendant Twiss

l

All allegations and causes of action in this Complaint, pled above and
below, are incorporated into this cause of action by this reference

ll7. Twiss owed Plaintiffs a duty to transport or arrange for transport of
the load in question with due care and failed to do so.

llS. Twiss undertook the duty to transport or arrange for the transport of
this load in a commercial motor vehicle and therefore owed Plaintiffs the duty to
discharge the undertaken duty in a reasonably prudent manner and breached its
undertaken duty as set forth herein.

119. Morcover, Twiss had an independent duty to act reasonably in hiring,
inistructing, training, supervising and retaining its drivers and other employees and
agents, including Defendant Haines; promulgate and enforce policies, procedures,
and rules to ensure that its drivers and vehicles were reasonablydsafe; and exercise
reasonable care in entrusting its vehicles and equipment to responsible, competent
and qualified drivers.

120. Twiss breached these duties by, among other things, failing to

investigate Haines’ background; negligently hiring, training, retaining and

29

Case 3:17-cV-01995-ARC Document 1 Filed 10/31/17 Page 30 of 70

supervising Haines; negligently entrusting the Tractor Trailer to Haines despite his
dangerous driving propensity, medical issues, medications and fatigue; permitting
Haines to operate the Tractor Trailer while ill, fatigued and over hours; knowingly
violating federal regulations and state laws regarding the responsibilities of motor
carriers and the safe operation of commercial motor vehicles; having a negligent
mode of operation and poor safety culture that created a danger to all motorists
including Plaintiffs; knowingly violating federal and state laws regarding the
responsibilities of motor carriers and the safe operation of commercial motor
vehicles; and failing to exercise reasonable care under all of the surrounding
circumstances.

121. Twiss’ negligence was a direct and proximate cause of Ms. Rains’
injuries and death and the Wrongful Death Damages.

122. Furthermore, Twiss acted in conscious disregard for the rights and
safety of the motoring public by placing more emphasis on profits than on safety
and by habitually and recklessly:disregarding state and federal laws and regulations
and industry standards governing the safe hiring, training and retention of tractor
trailer drivers, the safe operation of a motor carrier, and the safe operation of

commercial motor vehicles, such that it created a culture of danger and zone of risk

that was reasonably anticipated to cause injury and death to the traveling public.

30

Case 3:17-cV-01995-ARC Document 1 Filed 10/31/17 Page 31 of 70

123. Twiss’ actions were reckless and demonstrate a conscious disregard of
or indifference to the life, rights and safety of Ms. Rains and others, which Twiss
knew, or should have known, is reasonably likely to result in injury, damage or
death. Accordingly, Plaintiff Joyner demands punitive damages.

WfIEREFORE, the Plaintiff, Lucille Joyner, Individually and as the
Administratrix of the Estate of Janet Rains, hereby seeks all damages allowed
under the laws of the Commonwealth of Pennsylvania in addition to punitive
damages from the Defendant, Twiss Transport Inc., under the applicable statutes of
the Commonwealth of Pennsylvania and the Federal and Middle District Rules of
Court.

COUNT V
Lucille Jovner, Individually And As The Administratrix Of The Estate Of

Janet Rains, her daughter Wrongful Death Vicarious Liability v. Defendant

BT-Twiss '
All allegations and causes of action in this Complaint, pled above and
below, are incorporated into this cause of action by this reference
124. At all relevant times, BT-Twiss, directly and/or through its right to
control Twiss and Haines, routinely employed, selected aiid contracted with
companies and drivers to transport loads
125. Driving the Tractor Trailer involved in this Crash constituted work

that involved the risk of physical harm unless it was skillfully and carefully done

or precautions were taken. Defendant BT-Twiss knew or should have known this,

31

Case 3:17-cV-01995-ARC Document 1 Filed 10/31/17 Page 32 of 70

but failed to take the necessary precautions with respect to this risk. This
negligence also was a proximate cause of the Crash and Plaintiffs resulting
Wrongfi.tl Death Damages.

126. At all relevant times, Twiss and Haines were each the employee,
agent, servant, independent contractor for, ior were acting in joint venture with BT-
Twiss and operating in the course and scope of this employment, agency, or joint
venture

127. BT-Twiss retained the right to exercise control over Twiss and Haines
in connection with this load and BT-Twiss’ activities were directed to the details
required for the ultimate purpose for which it was hired by the shippers; that is,
delivery of a load to its proper destination in a timely fashion.

128. BT-Twiss, therefore, is vicariously liable for the acts of Twiss and
Haines with respect to the Crash.

WHEREFORE, the Plaintiff, Lucille Joyner, Individually and as the
Administratrix of the Estate of Janet Rains, hereby seeks all damages allowed
under the laws of the Commonwealth of Pennsylvania in addition to punitive
damages from the Defendant, BT-Twiss Transport LLC.| under the applicable

statutes of the Commonwealth o_f Pennsylvania and the Federal and Middle District

Rules of Court.

32

Case 3:17-cV-01995-ARC Document 1 Filed 10/31/17 Page 33 of 70

COUNT VI

Lucille Joyner2 Individually And As The .Administratrix Of The Estate Of

Janet Rains, her daughter Wrongful Death Active Negligence vs. Defendant
BT-Twiss

All allegations and causes of action in this Complaint, pled above and
below, are incorporated into this cause of action by this reference

129. BT-Twiss owed Plaintiffs a duty to transport or arrange for transport
of the load in question with due care and failed to do so.

130. BT-Twiss undertook the duty to transport or arrange for the transport
of this load in a commercial motor vehicle and therefore owed Plaintiffs the duty to
discharge the undertaken duty in a reasonably prudent manner and breached its
undertaken duty as set forth herein.

131. Furthermore, BT-Twiss had an independent duty to only select and
partner/joint venture with safe and competent contractors and motor carriers to
transport goods in interstate commerce, including the load in question being
transported by the Tractor Trailer.

132. BT-Twiss breached these duties by retaining or joint venturing with

incompetent, unfit and inexperienced contractors or subhaulers; Twiss and Haines, ‘

i

to transport the load in question.
133. Defendant BT-Twiss knew or should have known of the alleged
incompetence including without limitation that Twiss had multiple hours oft

service and other Fl\/ICSR safety violations; that Twiss failed to properly screen,

33

Case 3:17-cV-01995-ARC Document 1 Filed 10/31/17 Page 34 of 70

hire, train and supervise its drivers; the Twiss permitted medically disqualified
drivers, ill and fatigued drivers, and tired drivers over their hours of service
limitations to continue to drive commercial motor vehicles; that Twiss did not have
proper safety systems and audit systems in place to monitor its drivers and correct
any safety violations; that Twiss acted in conscious disregard for the rights and
safety of the motoring public; and that Twiss habitually and recklessly disregarded
state and federal laws, regulations and industry standards governing the safe
operation of commercial motor vehicles

134. The incompetence lack of fitness and unlawful behavior of
Defendants Twiss and Haines were a proximate cause of the Crash and Plaintiff’s
resulting Personal Injury Damages

135 . BT-Twiss’ negligence wasa direct and proximate cause of Ms. Rains’
injuries anddeath and the Wrongful Death Damages.

136. BT-Twiss’ actions were reckless and demonstrated a conscious
disregard of or indifference to the life, rights and safety! of Ms. Rains and others,
which BT-Twiss knew, or should have known, is reasonably likely to result in
l injury, damage or death. Accordingly, Plaintiff Joyner demands punitive dam;iges.
WHEREFORE, the Plaintiff, Lucille Joyner, Individually and as the

Administratrix of the Estate of Janet Rains, hereby seeks all damages allowed

under the laws of the Commonwealth of Pennsylvania in addition to punitive

34

Case 3:17-cV-01995-ARC Document 1 Filed 10/31/17 Page 35 of 70

damages from the Defendant, BT-Twiss Transport, LLC., under the applicable
statutes of the Commonwealth of Pennsylvania and the Federal and Middle District
Rules of Court.

COUNT VII‘
Lucille Jovner, Individually And As The Administratrix Of The Estate (_)f

Janet Rains, her daughter Wrongful Death Negligent and/or Reckless
Hiring/Supiryision Retention v. Defendant BT-Twiss
All allegations and causes of action in this Complaint, pled above and
below, are incorporated into this cause of action by this reference
137. BT-Twiss owed Plaintiffs a duty to transport or arrange for transport
of the load in question with due care and failed to do so.

138. BT-Twiss undertook the duty to transport or arrange for the transport

of this load in a commercial motor vehicle and therefore owed Plaintiffs the duty to

" discharge the undertaken duty" in' a reasonably prudent manner"and"'breache'd‘its‘ ‘

undertaken duty as set forth herein.

139. Moreover, BT-Twiss had an independent duty to act reasonably in
hiring, instructing, training, supervising and retaining its drivers and other
employees and agents, including Defendant Haines; promulgate and enforce
policies, procedures, and rules to ensure that its drivers and vehicles were
reasonably safe; and exercise reasonable care in entrusting its vehicles and

equipment to responsible competent and qualified drivers

35

Case 3:17-cV-01995-ARC Document 1 Filed 10/31/17 Page 36 of 70

140. BT-Twiss breached these duties by, among other things, failing to
investigate Haines’ background; negligently hiring, training, retaining and
supervising Haines; negligently entrusting the Tractor Trailer to Haines despite his
dangerous driving propensity, medical issues, medications and fatigue; permitting
Haines to operate the Tractor Trailer while ill, fatigued and over hdurs; knowingly
violating federal regulations and state laws regarding the responsibilities of motor
carriers and the safe operation of commercial motor vehicles; having a negligent
mode of operation and poor safety culture that created a danger to all motorists
including Plaintiffs; knowingly violating federal and state laws regarding the
responsibilities of motor carriers and the safe operation of commercial motor
vehicles; and failing to exercise reasonable care under all of the surrounding
circumstances

141. ]3T-Twiss’ negligence was a direct and proximate cause of Ms. Rains’
injuries and death and the Wrongful Death Damages.

142. Furthermore, BT-Twiss acted in conscious disregard for the rights and
safety of the motoring,public by placing more emphasis on profits than on safety
and by habitually and recklessly disregardiiig state and federal laws and regulations

and industry standards governing the safe hiring, training and retention of tractor

trailer drivers, the safe operation of a motor carrier, and the safe operation of

35

Case 3:17-cV-01995-ARC Document 1 Filed 10/31/17 Page 37 of 70

commercial motor vehicles, such that it created a culture of danger and zone of risk
that was reasonably anticipated to cause injury and death to the traveling public.
143. BT-Twiss’ actions were reckless and demonstrate a conscious
disregard of or indifference to the life, rights and safety of Ms. Rains and others,
which BT-Twiss knew, or should have known, is reasonably likely to result in
injury, damage or death. Accordingly, Plaintiff Joyner demands punitive damages
WHEREFORE, the Plaintiff, Lucille Joyner, Individually and as the
Administratrix of the Estate of Janet Rains, hereby seeks all damages allowed
under the laws of the Commonwealth of Pennsylvania in addition to punitive
damages from the Defendant, BT-Twiss Transport, LLC., under the applicable
statutes of the Commonwealth of Pennsylvania and the Federal and Middle District
Rules of Court.
v n l COUNT VIII
Lucille Jo@g, Individually And As The Administratrix Of T_h_@gate Of
Janet Rains, her daghter Wrongful peath Vicarious I_i__iabilitv v. Defendant
M
All allegations and causes of action in this Complaint, pled above and
below, are incorporated into this cause of action by this reference l t
144. At eli relevant amee, Beieve, direeay end/er through irs right te

control Twiss,‘ BT-Twiss and Haines, routinely employed, selected and contracted

with companies and drivers to transport loads

37

Case 3:17-cV-01995-ARC Document 1 Filed 10/31/17 Page 38 of 70

145. Driving the Tractor Trailer involved in this Crash constituted work
that involved the risk of physical harm unless it was skillfully and carefully done
or precautions were taken. Bulova knew or should have known this, but failed to
take the necessary precautions with respect to this risk. This negligence also Was a
proximate cause of the Crash and Plaintiff’ s resulting Wrongful Death Damages.

146. At all relevant times, Twiss, BT-Twiss and Haines were each the
employee, agent, servant, independent contractor for, or were acting in joint
venture with Bulova and operating in the course and scope of this employment,
agency, or joint venture

147.- Bulova retained the right to exercise control over Twiss, BT-Twiss
and Haines in connection with this load and Bulova’s activities were directed to the
details required for the ultimate purpose for which it was hired by the shippers; that
is, delivery of ja load to its proper destination in a timely fashion.

148. Bulova is therefore vicariously-liable for the acts of Twiss, BT-Twiss
and Haines with respect to the Crash.

WHEREFORE, the Plaintiff, Lucille Joyner, Individually and as the
Adminietratrix of the Estate of Janet Rains hereby seeks all damages allowed

under the laws of the Commonwealth of :Pennsylvania in addition to punitive

damages from the Defendant, Bulova Technologies Group, Inc., under the

38

Case 3:17-cV-01995-ARC Document 1 Filed 10/31/17 Page 39 of 70

applicable statutes of the Commonwealth of Pennsylvania and the Federal and
Middle District Rules of Court.
COUNT IX
Lucille Joyner, Individually And As The Administratrix Of The Estate Of`
Janet Rains, her daggl_lter Wrongful Death Active Negl_igence vs. Defen@nt
M

All allegations and causes of action in this Complaint, pled above and
below, are incorporated into this cause of action by this reference

149. Bulova owed Plaintiffs a duty to transport or arrange for transport of
the load in question with due care and failed to do so.

150. Bulova undertook the duty to transport or arrange for the transport of
this load in a commercial motor vehicle and therefore owed Plaintiffs the duty to
discharge the undertaken duty in a reasonably prudent manner and breached its
undertaken duty as set forth h'erein.

151. Furthermore, Bulova had an independent duty to only select and
partner/joint venture with safe and competent contractors and motor carriers to
transport goods in interstate commerce, including the load in question being
transported by the Tractor Trailer. l d

152. Bulova breached these duties by retaining or joint venturing with

incompetent, unfit and inexperienced contractors or subhaulers, Twiss, BT-Twiss

and Haines, to transport the load in question.

39

Case 3:17-cV-01995-ARC Document 1 Filed 10/31/17 Page 40 of 70

153. Bulova knew or should have known of the alleged incompetence
including without limitation that Twiss, BT-Twiss and Haines had multiple hours
of service and other FMCSR safety violations; that Twiss and BT-Twiss failed to
1 properlyl screen, hire train and supervise its drivers; the Twiss and BT-Twiss
permitted medically disqualified drivers, ill and fatigued drivers, and tired drivers
over their hours of service limitations to continue to drive commercial motor
vehicles; that Twiss and BT-Twiss did not have proper safety systems and audit
systems in place to monitor its drivers and correct any safety violations; that Twiss,
BT-Twiss and Haines acted in conscious disregard for the rights and safety of the
motoring public; and that Twiss, BT-Twiss and Haines habitually and recklessly
disregarded state and federal laws, regulations and industry standards governing

the safe operation of commercial motor vehicles

154. The incompetence lack of fitness and unlawful behavior of
Defendants Twiss, BT-Twiss and Haines were.a proximate cause of the Crash and
Plaintiffs resulting Wrongful Death Damages.

155 . Bulova’s negligence was a direct and proximate cause of Ms. Rains’
injuries and death and the Wrongful Death Damages.

156. Bulova’s actions were reckless and demonstrated a conscious

disregard of or indifference to the life rights and safety of Ms. Rains and others,

40

Case 3:17-cV-01995-ARC Document 1 Filed 10/31/17 Page 41 of 70

which Bulova knew, or should have known, is reasonably likely to result in injury,
damage or death. Accordingly, Plaintiff Joyner demands punitive damages

WHEREFORE, the Plaintiff, Lucille Joyner, Individually and as the
Administratrix of the Estate of Janeti Rains, hereby seeks all damages allowed
under the laws of the Commonwealth of Pennsylvania in addition to punitive
damages from the Defendant, Bulova Technologies Group, Inc., under the
applicable statutes of the Commonwealth of Pennsylvania and the Federal and
Middle District Rules of Court

COUN_TX
Lucille Jovn_er, Individually And As The Administratrix Of The Estate Of'

Janet Rains, her daughter Wrongful Death Negligent and/or Reckless
Hiring/Supervision Retention v. Defendant Bulova

 

All allegations and causes of action in this Complaint, pled above and

' below, are incorporated into this cause of action by this reference:' " " ' " " “" " " "

157. Bulova owed Plaintiffs a duty to transport or arrange for transport of
the load in question with due care and failed to do so.

158. Bulova undertook the duty to transport or arrange for the transport of
this load in a commercial motor vehicle and therefore owed Plaintiffs the duty to
discharge the undertaken duty in a reasonably prudent manner and breached its
undertaken duty as set forth herein. n

159. Moreover, Bulova had an independent duty to act reasonably in

hiring, instructing, training, supervising and retaining its drivers and other

41

Case 3:17-cV-01995-ARC Document 1 Filed 10/31/17 Page 42 of 70

employees and agents, including Defendant Haines; promulgate and enforce
policies, procedures and rules to ensure that its drivers and vehicles were
reasonably safe; and exercise reasonable care in entrusting its vehicles and
equipment to responsible competent and qualified drivers

160. Bulova breached these duties by, among other things, failing to
investigate Haines’ background; negligently hiring, training, retaining and
supervising Haines; negligently entrusting the Tractor Trailer to Haines despite his
dangerous driving propensity, medical issues, medications and fatigue; permitting
Haines to operate the Tractor Trailer while ill, fatigued and over hours; knowingly
violating federal regulations and state laws regarding the responsibilities of motor
carriers and the safe operation of commercial motor vehicles; having a negligent
mode of operation and poor safety culture that created a danger to: all motorists
including Plaintiffs; knowingly violating federal and state laws regarding the
responsibilities of motor carriers and the safe operation of commercial motor
vehicles; and failing to exercise reasonable care under all of the surrounding
circumstances

l6l. Bulova’s negligence was a direct and proximate cause of Ms. Rains’
injuries and death and the Wrongful Death Damages.

162. Furthermore, Bulova acted in conscious disregard for the rights and

safety of the motoring public by placing more emphasis on profits than on safety

42

Case 3:17-cV-01995-ARC Document 1 Filed 10/31/17 Page 43 of 70

and by habitually and recklessly disregarding state and federal laws and regulations
and industry standards governing the safe hiring, training and retention of tractor
trailer drivers, the safe operation of a motor carrier, and the safe operation of
commercial motor vehicles, such that it created a culture of danger and zone of risk
that was reasonably anticipated to cause injury and death to the traveling public.

163. Bulova’s actions were reckless and demonstrate a conscious disregard
of or indifference to the life rights and safety of Ms. Rains and others, which
Bulova knew, or should have known, is reasonably likely to result in injury,
damage or death. Accordingly, Plaintiff Joyner demands punitive damages

WHEREFORE, the Plaintiff, Lucille Joyner, Individually and as the
Administratrix of the Estate of Janet Rains, hereby seeks all damages allowed
under the laws of the Commonwealth of Pennsylvania in addition to punitive
damages from the Defendant, Bulova Technologies Group, Inc., under the
applicable statutes of the Commonwealth of Pennsylvania and the Federal and
Middle District Rules of Court

COUNT XI

Ll`lci__lle Jovner, Individually And As The Administratrix Of` The Estate Of
Janet Rains, her daughter Wrongful Death Vicarious Liability v. Defendagt

Disney

All allegations and causes of action in this Complaint, pled above and

below, are incorporated into this cause of action by this reference
l :

43

Case 3:17-cV-01995-ARC Document 1 Filed 10/31/17 Page 44 of 70

164. At all relevant times, Disney, directly and/or through its right to
control Haines, Twiss, BT-Twiss and/or Bulova routinely employed, selected and
contracted with companies and drivers to transport loads

165. Driving the Tractor Trailer involved in this Crash constituted work
that involved the risk of physical harm unless it was skillfully and carehilly done
or precautions were taken. Disney knew or should have known this, but failed to
take the necessary precautions with respect to this risk. This negligence also was a
proximate cause of the Crash and Plaintiff’ s resulting Wrongful Death Damages.

166. Without regard to any employment, agency, independent contractor,
joint venture or other relationship, and despite having no broker or motor carrier
operating authority, Disney arranged for all of the transportation of the load in
question, acted as the motor carrier of the load and then sub-brokered the load to
Defendants Twiss, ]3T-Twiss, l3ulova and-Haines 7 7

167. Defendant Disney is therefore liable for the load and responsible fort
the acts of Defendants Twiss, BT-"l`wiss, Bulova and Haines while transporting the
load by operation of law.

168. Iri addition, at all fimes imaterial, Defendants Twiss, BT-Twiss,
Bulova and Haines were each the employee agent, servant, joint venture or

independent contractor for Disney and were operating in the course and scope of

this employment Disney retained and exercised a right to control over Twiss, B"E-

44

Case 3:17-cV-01995-ARC Document 1 Filed 10/31/17 Page 45 of 70

Twiss, Bulova and Haines in connection with this load and Disney’s activities were
directed to the details required for the ultimate purpose for which it was hired; that
is, delivery of a load to its proper destination in a timely fashion.

169. Disney contracted with Twiss, BT-Twiss, and/or Bulova to haul the
load and exercised substantial control over the load,i including but not limited to:
requiring regular communications and tracking updates; notifying Disney of any
delay; requiring Twiss, BT-Twiss, Bulova or Haines to check in With and obtain
load requirements from Disney prior to arriving at the shippers and prior to
delivering to the receiving locations; and penalizing Twiss, BT-Twiss, Bulova or
Haines for being late to a delivery appointment

170. Disney is therefore vicariously liable for the acts of Twiss, BT-Twiss,
Bulova and Haines with respect to this Crash.

WHEREFORE, the Plaintiff, l_,ucille Joyner, Individually and as the
Administratrix of the Estate of Janet Rains, hereby seeks all damages allowed
under the laws of the Commonwealth of Pennsylvania in addition to punitive
damages from the Defendant, Disney Worldwide Services, Inc., under the

1 l -

applicable statutes of the Commonwealth jof Pennsylvania and the Federal and

Middle District Rules of Court.

45

Case 3:17-cV-01995-ARC Document 1 Filed 10/31/17 Page 46 of 70

COUNT XII
Lucille Joyner._, Individually And As The Administratrix Of` The Estate Of
Janet Rains, her daughter Wrongful Death Active Neg§gence v. Defendagt_

Mx

All allegations and causes of action in this Complaint, pled above and
below, are incorporated into this cause of action by this reference

171. Disney owed Plaintiffs a duty to transport or arrange for transport of
the load in question with due care and failed to do so.

172. Disney undertook the duty to transport or arrange for the transport of
this load in a commercial motor vehicle and therefore owed Plaintiffs the duty to
discharge the undertaken duty in a reasonably prudent manner and breached its
undertaken duty as set forth herein.

173. Furthermore, Disney had an independent duty to only select and
partner/joint venture with safe and competent contractors and motor carriers to
transport goods in interstate commerce including the load in question being
transported by the Tractor Trailer. `

174. Disney breached these duties by retaining or joint venturing with

1
incompetent, unfit and inexperienced contractors or subhaulers, Twiss, BT-Twiss
and Haines, to transport the load in question.

175. Disney knew or should have known of the alleged incompetence

including without limitation that Twiss, BT-Twiss and Haines had multiple hours

of service and other FMCSR safety violations; that Twiss and BT-Twiss failed to

46

Case 3:17-cV-01995-ARC Document 1 Filed 10/31/17 Page 47 of 70

properly screen, hire train and supervise its drivers; the Twiss and BT-Twiss
permitted medically disqualified drivers, ill and fatigued drivers, and tired drivers
over their hours of service limitations to continue to drive commercial motor
vehicles; that Twiss and BT-Twiss did not have proper safety systems and audit
systems in place to monitor its drivers and correct any safety violations; that Twiss,
BT-Twiss, Bulova and Haines acted in conscious disregard for the rights and safety
of the motoring public; and that Twiss, BT-Twiss, Bulova and Haines habitually
and recklessly disregarded state and federal laws, regulations and industry
standards governing the safe operation of commercial motor vehicles

176. The incompetence lack of fitness and unlawful behavior of Twiss,
BT-Twiss, Bulova and Haines were a proximate cause of the Crash and Plaintiff’s

resulting Wrongful Death Damages.
d vi h q 177 Vf),isiiey’s negligence was laid-direct and proximate cause of Ms. Rains’
injuries and death and the Wrongful Death Damages.

17 8. Disney’s actions were reckless and demonstrated a conscious
disregard of or indifference to the life rights and safety of Ms. Rains and others,
which Disney knew, or should have known, is reasonably likely to result in injury,
damage or death. Accordingly, Plaintiff Joyner demands punitive damages

WHEREFORE, the Plaintiff, Lucille Joyner, Individually and as the

Administratrix of the Estate lof Janet Rains, hereby seeks all damages allowed

47

Case 3:17-cV-01995-ARC Document 1 Filed 10/31/17 Page 48 of 70

under the laws of the Commonwealth of Pennsylvania in addition to punitive
damages from the Defendant, Disney Worldwide Services, Inc., under the
applicable statutes of the Commonwealth of Pennsylvania and the Federal and
Middle District Rules of Court

COUNT XIII

Lucille Joyner, Individually And As The Administratrix Of` The Estate Of
Janet Rains, her daughter Wrongf_ul Death Neg§gent and/or Reckless

Hiring[Supervision Retention v. Defendant Disney

All allegations and causes of action in this Complaint, pled above and
below, are incorporated into this cause of action by this reference

179. Disney owed Plaintiffs a duty to transport or arrange for transport of
the load in question with due care and failed to do so.

180. Disney undertook the duty to transport or arrange for the transport of

"this"‘load"in a commercialmotor"vehicle"and therefore owed"Plaintiffs the duty to'M " " " '

discharge the undertaken duty in a reasonably prudent manner and breached its
undertaken duty as set forth herein.

181. Moreover, Disney had an independent duty to act reasonably in hiring,
instructing, training, supervising and retaining its drivers and other employees and
agents including Defendant Haines; promulgate and enforce policies procedures,
and rules to ensure that its drivers and vehicles were reasonably safe; and exercise
reasonable care in entrusting its vehicles and equipment to responsible competent

and qualified drivere.

48

Case 3:17-cV-01995-ARC Document 1 Filed 10/31/17 Page 49 of 70

182. Disney breached these duties by, among other things, failing to
investigate Haines’ background; negligently hiring, training, retaining and
supervising Haines; negligently entrusting the Tractor Trailer to Haines despite his
dangerous driving propensity, medical issues, medications and fatigue; permitting
Haines to operate the Tractor Trailer while ill, fatigued and over hours; knowingly
violating federal regulations and state laws regarding the responsibilities of motor
carriers and the safe operation of commercial motor vehicles; having a negligent
mode of operation and poor safety culture that created a danger to all motorists
including Plaintiffs; knowingly violating federal and state laws regarding the
responsibilities of motor carriers and the safe operation of commercial motor
vehicles; and failing to exercise reasonable care under all of the surrounding
circumstances
n 183. dl)isney’s negligence wasa direct and proximate cause of Ms. Rains’
injuries and death and the Wrongful Death Damages.

184. Furthermore, Disney acted in conscious disregard for the rights and
safety of the motoring public by placing more emphasis on profits than on safety
and by habitually and recklessly disregarding state and federal laws and regulations

and industry standards governing the safe hiring, training and retention of tractor

trailer drivers, the safe operation of a motor carrier, and the safe operation of

49

Case 3:17-cV-01995-ARC Document 1 Filed 10/31/17 Page 50 of 70

commercial motor vehicles, such that it created a culture of danger and zone of risk
that was reasonably anticipated to cause injury and death to the traveling public.

185. Disney’s actions were reckless and demonstrate a conscious disregard
of or indifference to the life rights and safety of Ms. Rains and others, which
Disney knew,, or should have known, is reasonably likely to result in injury,
damage or death. Accordingly, Plaintiff Joyner demands punitive damages

WHEREFORE, the Plaintiff, Lucille Joyner, Individually and as the
Administratrix of the Estate of Janet Rains, hereby seeks all damages allowed
under the laws of the Commonwealth of Pennsylvania in addition to punitive
damages from the Defendant, Disney Worldwide Services, Inc., under the
applicable statutes of the Commonwealth of Pennsylvania and the Federal and
Middle District Rules of Court

COUNT xiv

Lucille Joyner2 Individually And As The Administratrix Of` The Estate Of
Janet Rains, her daughter Survival Action v. All Defendants

All allegations and causes of action in this Complaint, pled above and
below, are incorporated into this cause of action by this reference
d 186. The Plaintiff, Lucille Joyner, Individually and as the Administratrix of|.
the Estate of Janet Rains, deceased, also brings this action on behalf of the Estate

of Ms. Rains, deceased, pursuant to the Pennsylvania Survival Act, 42 Pa.C.S.A.

§8302, and claims on behalf of the Estate all damages recoverable by law,

50

Case 3:17-cV-01995-ARC Document 1 Filed 10/31/17 Page 51 of 70

including the almost daily surgeries Ms. Rains experienced, the constant physical
conscious pain and suffering Ms. Rains endured prior to her death, and such other
damages as are recoverable in a survival action.

WHEREFORE, the Plaintiff, Lucille Joyner, Individually and as the
Administratrix of the Estate of Janet Rains, hereby seeks all damages allowed
under the laws of the Commonwealth of Pennsylvania in addition to punitive
damages from the Defendant, Disney Worldwide Services, Inc., under the
applicable statutes of the Commonwealth of Pennsylvania and the Federal and
Middle District Rules of Court

COUNT XV
Mr. Dressler Negligence v. Defendant Haines

All allegations and causes of action in this Complaint, pled above and
below, are incorporated into this caus'e'of action by this reference

187. Haines’ negligence and recklessness described herein was a direct and
proximate cause of Mr. Dressler’s Damages.

188. Haines’ actions were reckless and demonstratea conscious disregard
Jlof _or indifference to the life rights and safety of Mr. Dresdler and others, which
Haines knew, or should have known, is reasonably likely to result in injury,
damage or death. Accordingly, Mr. Dressler demands punitive damages

WHEREFORE, the Plaintiff, Robert Dressler, hereby seek all damages

allowed under the laws of the Commonwealth of Pennsylvania in addition to

51

Case 3:17-cV-01995-ARC Document 1 Filed 10/31/17 Page 52 of 70

punitive damages from the Defendant, Robert Edwin Haines, under the applicable
statutes of the Commonwealth of Pennsylvania and the Federal and Middle District
Rules of Court

COUNT XVI
Mr. Dressler Vicarious Liability v. Defendant Twiss

All allegations and causes of action in this Complaint, pled above and
below, are incorporated into this cause of action by this reference

189. Twiss is responsible for the acts of Haines as a matter of law, which
negligence directly and proximately caused Mr. Dressler’s Damages.

WHEREFORE, the Plaintiff, Robert Dressler, hereby seek all damages
allowed under the laws of the Commonwealth of Pennsylvania in addition to

punitive damages from the Defendant, Twiss Transport lnc., under the applicable .

' statutes of the Commonwealth of‘Penn‘sylvania“and'the"Federal"and"Midd'l'e'District'"' ' ' d

Rules of Court.

COUNT XVII
Mr. Dressler Active Negl_igence v. Defendant Twiss

All allegations and causes of action inl this Complaint, pled above and
below, are incorporated into this cause of action`by this reference

190. Twiss’ negligence and recklessness described herein was a direct and

proximate cause of Mr. Dressler’s Damages.

52

Case 3:17-cV-01995-ARC Document 1 Filed 10/31/17 Page 53 of 70

191. Twiss’ actions were reckless and demonstrate a conscious disregard of
or indifference to the life rights and safety of Mr. Dressler and others, which
Twiss knew, or should have known, is reasonably likely to result in injury, damage
or death. Accordingly, Mr. Dressler demands punitive damages

WHEREFORE, the Plaintiff, Robert Dressler, hereby seek all damages
allowed under the laws of the Commonwealth of Pennsylvania in addition to
punitive damages from the Defendant, Twiss Transport Inc., under the applicable
statutes of the Commonwealth of Pennsylvania and the Federal and Middle District
Rules of Court l

M
Mr. Dressler NegLigent and/or Reckless Hiring/Supervision/Retention v.
Defendant Twiss

All allegations and causes of action in this Complaint, pled above and
acreage gleaned damage engineers raeei;§a' *` ` ` " 7

192. Twiss’negligence and recklessness described herein was a direct and
proximate cause of Mr. Dressler’s Damages.

193. Twiss’ actions were reckless and demonstrate a conscious disregard of
lor indifference to the life rights and safety of Mr. Dressler and others, which

Twiss knew, or should have known, is reasonably likely to result in injury, damage

or death. Accordingly, Mr. Dressler demands punitive damages

53

Case 3:17-cV-01995-ARC Document 1 Filed 10/31/17 Page 54 of 70

WHEREFORE, the Plaintiff, Robert Dressler, hereby seek all damages
allowed under the laws of the Commonwealth of Pennsylvania in addition to
punitive damages from the Defendant, Twiss Transport Inc., under the applicable
statutes of the Commonwealth of Pennsylvania and the Federal and Middle District

Rules of Court

COUNT XIX
Mr. Dressler Vicarious Liabilig; v. Defendant BT-Twiss

All allegations and causes of action in this Complaint, pled above and
below, are incorporated into this cause of action by this reference

194. BT-Twiss is responsible for the acts of Haines and Twiss as a matter
of law, which negligence directly and proximately caused Mr. Dressler’s Damages.

WHEREFORE, the Plaintiff, Robert Dressler, hereby seek all damages
" ` alieeed`"endei' ina laae" or die commonwealth or Pennsylvania in addnlen`"eo' "
punitive damages from the Defendant, BT-Twiss Transport, LLC., under the
applicable statutes of the Commonwealth of Pennsylvania and the Federal and
Middle Distript Rules of Court.

ll COUNT XX
Mr. Dressler Active Neg§gence v. Defendant BT-Twiss

All allegations and causes of action in this Complaint, pled above and

below, are incorporated into this cause of action by this reference

54

Case 3:17-cV-01995-ARC Document 1 Filed 10/31/17 Page 55 of 70

195 . BT-Twiss’ negligence and recklessness described herein was a direct
and proximate cause of Mr. Dressler’s Damages.

196. BT-Twiss’ actions were reckless and demonstrate a conscious
disregard of or indifference to the life rights and safety of Mr. Dresslerl and others,
which BT-Twiss knew, or should have known, is reasonably likely to result in
injury, damage or death. Accordingly, Mr. Dressler demands punitive damages

WHEREFORE, the Plaintiff, Robert Dressler, hereby seek all damages
allowed under the laws of the Commonwealth of Pennsylvania in addition to
punitive damages from the Defendant, BT-Twiss Transport, LLC., under the
applicable statutes of the Commonwealth of Pennsylvania and the Federal and
Middle District Rules of Court

COUNT XXI
" Mr. Dressler'Nengent and/or Reckl'ess I-Iiring/Supervi'sion/Retentio‘}i"_v._'l '
Defendant BT-'Iwiss

All allegations and causes of action in this Complaint, pled above and
below, are incorporated into this cause of action by this reference

197. BT-Twiss’ negligence and recklessness described herein was a direct
and proximate cause of l\/lr. Dressler’s Damages.

198. BT-Twiss’ actions were reckless and demonstrate a conscious

disregard of or indifference to the life rights and safety of Mr. Dressler and others,

55

Case 3:17-cV-0,1995-ARC Document 1 Filed 10/31/17 Page 56 of 70

which BT-Twiss knew, or should have known, is reasonably likely to result in
injury, damage or death. Accordingly, Mr. Dressler demands punitive damages

WHEREFORE, the Plaintiff, Robert Dressler, hereby seek all damages
allowed underl the laws of the Commonwealth of Pennsylvania in addition to
punitive damages from the Defendant, BT-Twiss Transport, LLC., under the
applicable statutes of the Commonwealth of Pennsylvania and the Federal and
Middle District Rules of Court

COUNT XXII
Mr. Dressler Vicarious Liability v. Defendant Bulova

All allegations and causes of action in this Complaint, pled above and
below, are incorporated into this cause of action by this reference

199. Bulova is responsible for the acts of Haines, Twiss and BT-Twiss as a

" "m'atter"‘o'f"l'aw,' which negligence "directly"and"proximately"caused"Mr:"'Dressler"s' "

Damages.

WHEREFORE, the Plaintiff, Robert Dressler, hereby seek all damages
allowed under the laws of the Commonwealth of Pennsylvania in addition to
punitive damages from the Defendant, Bulova Technologies Group, Inc., under the
applicable statutes of the Commonwealth of Pennsylvania and the Federal and

Middle manor Rnlee of Conn.

56

Case 3:17-cV-01995-ARC Document 1 Filed 10/31/17 Page 57 of 70
MLX..I.H
Mr. Dressler Active Negligence v. Defendant Bulova

All allegations and causes of action in this Complaint, pled above and
below, are incorporated into this cause of action by this reference

200. Bulova’s negligence and recklessness described herein was a direct
and proximate cause of Mr. Dressler’s Damages.

201. Bulova’s actions were reckless and demonstrate a conscious disregard
of or indifference to the life rights and safety of Mr. Dressler and others, which
Bulova knew, or should have known, is reasonably likely to result in injury,
damage or death. Accordingly, Mr. Dressler demands punitive damages

WHEREFORE, the Plaintiff, Robert Dressler, hereby seek all damages

allowed under the laws of the Commonwealth of Pennsylvania in addition to

c * ~ptmiti‘ve“darnages“from' the 'Defendant; "Bul“ova 'Technolo'gie's Group,"in'c'.',"under'th'e""“"“"

applicable statutes of the Commonwealth of Pennsylvania and the Federal and
Middle District Rules of Court
COUNT XXIV
Mr. Dressler Negligent tand/or Reckless Hiring/Supervision/Retention v.
Defendant Bulova
All allegations and causes of action in this Complaint, pled above and
below, are incorporated into this cause of action by this reference

202. Bulova’s negligence and recklessness described herein was a direct

and proximate cause of Mr. Dressler’s Damages.

57

Case 3:17-cV-01995-ARC Document 1 Filed 10/31/17 Page 58 of 70

203. Bulova’s actions were reckless and demonstrate a conscious disregard
of or indifference to the life rights and safety of Mr. Dressler and others, which
Bulova knew, or should have known, is reasonably likely to result in injury,
damage or death. Accordingly, Mr. Dressler demands punitive damages

WHEREFORE, the Plaintiff, Robert Dressler, hereby seek all damages
allowed under the laws of the Commonwealth of Pennsylvania in addition to
punitive damages from the Defendant, Bulova Technologies Group, Inc., under the
applicable statutes of the Commonwealth of Pennsylvania and the Federal and
Middle District Rules of Court. l

COUNT XXV
Mr. Dressler Vicarious Liabili§ v. Defendant Disney

All allegations and causes of action in this Complaint, pled above and

" "below; are”incorporated‘into‘th'i'scause'“of“actionby'thi's"reference':“' ' " " "

204. Disney is responsible for the acts of Haines, Twiss, BT-Twiss and
Bulova as a matter of law, which negligence directly and proximately caused Mr.
Dressler’s Damages. l

l .

WHEREFORE, the Plaintiff, i{obert Dressler, hereby seek all damages
allowed under the laws of the Commonwealth of Pennsylvania in addition to
punitive damages from the Defendant, Disney Worldwide Services, Inc., under the

applicable statutes of the Commonwealth of Pennsylvania and the Federal and

Middle District Rules of Court

58

Case 3:17-cV-01995-ARC Document 1 Filed 10/31/17 Page 59 of 70
COUNT XXVI
Mr. Dressler Active Negligence v. ]_)_efenda_nt Disney

All allegations and causes of action in this Complaint, pled above and
below, are incorporated into this cause of action by this reference

205. Disney’s negligence and recklessness described herein was a direct
and proximate cause of Mr. Dressler’s Damages.

206. Disney’s actions were reckless and demonstrate a conscious disregard
of or indifference to the life, rights and safety of Mr. Dressler and others, which
Disney knew, or should have known, is reasonably likely to result in injury,
damage or death. Accordingly, Mr. Dressler demands punitive damages

WHEREFORE, the Plaintiff, Robert Dressler, hereby seek all damages

allowed under the laws of the Commonwealth of Pennsylvania in addition to

""'punitive~damages from the Defendant,“'Disney"Worldwide Services; Inc;',"under'the' '

applicable statutes of the Commonwealth of Pennsylvania and the Federal and

Middle District Rules of Court l

 

COUNT XXVII
Mr. Dressler Negl_igent and/or Reckless Hiring/Supervision/Retention v.
l Defendant Disney -

All allegations and causes of action in this Complaint, pled above and
below, are incorporated into this cause of action by this reference
207=. Disney’s negligence and recklessness described herein was a direct

and proximate cause of Mr. Dressler’s Damages.

59

Case 3:17-cV-01995-ARC Document 1 Filed 10/31/17 Page 60 of 70

208. Disney’s actions were reckless and demonstrate a conscious disregard
of or indifference to the life rights and safety of Mr. Dressler and others, which
Twiss knew, or should have known, is reasonably likely to result in injury, damage
or death. Accordingly, Mr. Dressler demands punitive damages

WHEREFORE, the Plaintiff, Robert Dressler, hereby seek all damages
allowed under the laws of the Commonwealth of Pennsylvania in addition to
punitive damages from the Defendant, Disney Worldwide Services, lnc., under the
applicable statutes of the Commonwealth of Pennsylvania and the Federal and
Middle District Rules of Court d

COUNT XXVIII
Mr. McCloe Negligence v. Defendant Haines

All allegations and causes of action in this Complaint, pled above and

"""b'elow;“"are~incorporated into'thi's' cause lof"'acti‘on by'thi's"'reference;“‘"""" ~“

209. Haines’ negligence and recklessness described herein was a direct and
proximate cause of Mr. McCloe’s Damages.
210. Haines’ actions were reckless and demonstrate a conscious disregard
l , :
of or indifference to the life, rights and safety of Mr. McCloe and others, which
Haines knew, or should have known, is reasonably likely to result in injury,
damage or death. Accordingly, Mr. McOloe demands punitive damages

WHEREFORE, the Plaintiff, Jason McCloe, hereby seek all damages

allowed under the laws of the Commonwealth of Pennsylvania in addition to

60

Case 3:17-cV-01995-ARC Document 1 Filed 10/31/17 Page 61 of 70

punitive damages from the Defendant, Robert Edwin Haines, under the applicable
statutes of the Commonwealth of Pennsylvania and the Federal and Middle District
Rules of Court

.CQM l ‘
Mr. McCloe Vicarious Liability v. Defendant Twiss

All allegations and causes of action in this Complaint, pled above and
below, are incorporated into this cause of action by this reference

211. Twiss is responsible for the acts of Haines as a matter of law, which
negligence directly and proximately caused Mr. McCloe’s Damages.

VVI-IEREFORE, the Plaintiff, Jason l\/lcCloe, hereby seek all damages
allowed under the laws of the Commonwealth of Pennsylvania in addition to

punitive damages from the Defendant, Twiss Transport Inc., under the applicable

""~statutes' of'the ‘Commonwealth"'of Pennsylvania 'and' the ‘Fed'eral'and"Mi'ddl'e"District ' ‘ ' ‘ t ""-~"'~

Rules of Court

_ COUNT XXX l
Mr. McCloe Active Negl_igence v. Defendant Twiss

All allegations and causes of action in this Complaint, pled above and
1 l . _ l -
below, are incorporated into this cause of action by this reference

212. Twiss’ negligence and recklessness described herein was a direct and

proximate cause of Mr. McCloe’s Damages.

61

Case 3:17-cV-01995-ARC Document 1 Filed 10/31/17 Page 62 of 70

213. Twiss’ actions were reckless and demonstrate a conscious disregard of
or indifference to the life rights and safety of Mr. McCloe and others, which Twiss
knew, or should have known, is reasonably likely to result in injury, damage or
death. Accordingly, Mr. McCloe demands punitive damages

WHEREFORE, the Plaintiff, Jason McCloe, hereby seek all damages
allowed under the laws of the Commonwealth of Pennsylvania in addition to
punitive damages from the Defendant, Twiss Transport Inc., under the applicable
statutes of the Commonwealth of Pennsylvania and the Federal and Middle District
Rules of Court.

COUNT XXXI
Mr. McCloe Negl_igent and/or Reckless __Hiring/Supervision/Retention v.
Defendant Twiss

All allegations and causes of action in this Complaint, pled above and
banaaan;;§naaea deane`ai§;;'a£`iaena;daa

214. Twiss’ negligence and recklessness described herein was a direct and
proximate cause of Mr. McCioe’s Damages.

215. Twiss’ actions were reckless and demonstrate a conscious disregard of
or indifference to the life rights and safety of Mr. McCloe and others, which Twiss

knew, or should have known, is reasonably likely to result in injury, damage or

death. Accordingly, Mr. McCloe demands punitive damages

62

Case 3:17-cV-01995-ARC Document 1 Filed 10/31/17 Page 63 of 70

WHEREFORE, the Plaintiff, Jason McCloe, hereby seek all damages
allowed under the laws of the Commonwealth of Pennsylvania in addition to
punitive damages from the Defendant, Twiss Transport Inc., under the applicable
statutes of the Commonwealth of Pennsylvania and the Federal and Middle District
Rules of Court

COUNT XXXII
Mr. McCloe Vicarious Liability v. Defendant BT-Twiss

All allegations and causes of action in this Complaint, pled above and
below, are incorporated into this cause of action by this reference

216. BT-Twiss is responsible for the acts of Haines and Twiss as a matter
of law, which negligence directly and proximately caused Mr. McCloe’s Damages. -

WHEREFORE, the Plaintiff, Jason McCloe, hereby seek all damages

"al‘iowed"’under‘ the 'laws"'of' the"Commonwealth' of Pennsylvania'in"‘additiorr"tof"

punitive damages from the Defendant, BT-Twiss Transport, LLC., under the
applicable statutes of the Commonwealth of Pennsylvania and the Federal and
Middle District Rules of Court.

COUNT XXXIII
Mr. McCloe Active Neg§gence v. Defendant BT-Twiss

All allegations and causes of action in this Complaint, pled above and

below, are incorporated into this cause of action by this reference

63

Case 3:17-cV-01995-ARC Document 1' Filed 10/31/17 Page 64 of 70

217. BT-Twiss’ negligence and recklessness described herein was a direct
and proximate cause of Mr. McCloe’s Damages.

218. BT-Twiss’ actions were reckless and demonstrate a conscious
disregard of or indifference to the life rights and safety of Mr. McCloe and others,
which BT-Twiss knew, or should have known, is reasonably likely to result in
injury, damage or death. Accordingly, Mr. l\/lcCloe demands punitive damages

WHEREFORE, the Plaintiff, Jason McCloe, hereby seek all damages
allowed under the laws of the Commonwealth of Pennsylvania in addition to
punitive damages from the Defendant, BT-Twiss Transport, LLC., under the
applicable statutes of the Commonwealth of Pennsylvania and the Federal and
Middle District Rules of Court.

COUNM
~"~"~~Mr;~McC~loe'Negligent and‘/or‘Reckless‘Hirin'g/Su'pervision/Retention'v; ' '
Defendant BT-Twiss
All allegations and causes of action in this Complaint, pled above and

below, are incorporated into this cause of action by this reference

219;. BT-Twiss’ negligence and recklessness described herein was a direct

and proximate cause of Mr. McCloe’s Damages.
220. BT-Twiss’ actions were reckless and demonstrate a conscious

disregard of or indifference to the life rights and safety of Mr. McCloe and others,

64

Case 3:17-cV-01995-ARC Document 1 Filed 10/31/17 Page 65 of 70

which BT-Twiss knew, or should have known, is reasonably likely to result in
injury, damage or death. Accordingly, Mr. McCloe demands punitive damages

WHEREFORE, the Plaintiff, Jason McCloe hereby seek all damages
allowed under the laws of the Commonwealth of Pennsylvania in addition to
punitive damages from the Defendant, BT-Twiss Transport, LLC., under the 1
applicable statutes of the Commonwealth of Pennsylvania and the Federal and
Middle District Rules of Court

COUNT XXXV
Mr. McCloe Vicarious Liability v. Defendant Bulova

All allegations and causes of action in this Complaint, pled above and
below, are incorporated into this cause of action by this reference

221. Bulova is responsible for the acts of Haines, Twiss and BT-Twiss as a

' ‘matter»'of'"'l'aw, which negligence '"directly and "proximately"c‘aused" 'Mr. 'l\`/lc€'l'o'e"'s“" " " ‘ " " *' " "

Damages.

WHEREFORE, the Plaintiff, Jason l\/lcCloe, hereby seek all damages
allowed under the laws of the Commonwealth of Pennsylvania in addition to
punitive damages from the Defendant, BT-Twiss Transiport, LLC., under the
applicable statutes of the Commonwealth of Pennsylvania and the Federal and

Middle manor Rules ofcoun.

65

Case 3:17-cV-01995-ARC Document 1 Filed 10/31/17 Page 66 of 70
COUNT XXXVI
Mr. McCloe Active Negligence v. Defendant Bulova

All allegations and causes of action in this Complaint, pled above and
below, are incorporated into this cause of action by this reference

222. Bulova’snegligeiice and recklessness described herein was a direct
and proximate cause of Mr. McCloe’s Damages.

223. Bulova’s actions were reckless and demonstrate a conscious disregard
of or indifference to the life rights and safety of Mr. McCloe and others, Which
Bulova knew, or should have known, is reasonably likely to result in injury,
damage or death. Accordingly, Mr. McCloe demands punitive damages

WHEREFORE, the Plaintiff, Jason McCloe, hereby seek all damages

allowed under the laws of the Commonwealth of Pennsylvania in addition to

"~ ' ~‘punitive damages from the`De'fend'ant; ‘Bulova'Technologies"Group‘,' 'lnc~.,'under‘ the

applicable statutes of the Commonwealth of Pennsylvania and the Federal and
Middle District Rules of Court.
COUNT XXXVII
Mr. MeCloe Negngent and/or Reckless Hiring/Supervision/Retention v.
: Defendant Bulova
Alll allegations and causes of action in this Complaint, pled above and
below, are incorporated into this cause of action by this reference

224. Bulova’s negligence and recklessness described herein was a direct

and proximate cause of Mr. McCloe’s Damages.

66

Case 3:17-cV-01995-ARC Document 1 Filed 10/31/17 Page 67 of 70

225. Bulova’s actions were reckless and demonstrate a conscious disregard
of or indifference to the life rights and safety of Mr. McCloe and others, which
Bulova knew, or should have known, is reasonably likely to result in injury,
damage or death. Accordingly, Mr. McCloe demands punitive damages

WHEREFORE, the Plaintiff, Jason Mcf)loe, hereby seek all damages
allowed under the laws of the Commonwealth of Pennsylvania in addition to
punitive damages from the Defendant, Bulova Technologies Group, Inc., under the
applicable statutes of the Commonwealth of Pennsylvania and the Federal and
Middle District Rules of Court

COUNT XXXVIII
Mr. McCloe Vicarious Liability v. Defendant Disney

All allegations and causes of action in this Complaint, pled above and
‘* 'below;'\m"mcomorated"into"this~'cause"o'f‘action'by'this'reference:"' ' ~

226. Disney is responsible for the acts of Haines, 'Twiss, BT-Twiss and
Bulova as a matter of law, which negligence directly and proximately caused Mr.
McCloe’s Damages.

WHEREFORE, ithe Plaintiff, Jason McCloe, hereby seek all damages
allowed under the laws of the Commonwealth of Pennsylvania in addition to
punitive damages from the Defendant, Disney Worldwide Services, Inc., under the
applicable statutes of the Commonwealth of Pennsylvania and the Federal and

Middle District Rules of Court.

67

Case 3:17-cV-01995-ARC Document 1 Filed 10/31/17 Page 68 of 70
COUNT XXXIX
Mr. McCloe Active Neg§gence v. Defendant Disr_gy

All allegations and causes of action in this Complaint, pled above and
below, are incorporated into this cause of action by this reference

227. Disney’s negligence and recklessness described herein was a direct
and proximate cause of Mr. McCloe’s Damages. l

228. Disney’s actions were reckless and demonstrate a conscious disregard
of or indifference to the life rights and safety of Mr. McCloe and others, which
Disney knew, or should have known, is reasonably likely to result in injury,
damage or death. Accordingly, Mr. McCloe demands punitive damages

WHEREFORE, the Plaintiff, Jason McCloe, hereby seek all damages

allowed under the laws of the Commonwealth of Pennsylvania in addition to

' punitive damages from the Defendant;~Bisney"Worl'dwide 7'S~ervi'ce's,‘'Inc:",'"tlnder"the "

applicable statutes of the Commonwealth of Pennsylvania and the Federal and

Middle District Rules of Court

 

 

 

M
` Mr. McCloe Neg_li_gent and/or Reckless Hiring/SupervisionfRet'ention v.
Defendant Disney

All allegations and causes of action in this Complaint, pled above and
below, are incorporated into this cause of action by this reference
229. Disney’ negligence and recklessness described herein was a direct and

proximate cause of Mr. McCloe’s Damages.

68

Case 3:17-cV-01995-ARC Document 1 Filed 10/31/17 Page 69 of 70

230. Disney’s actions were reckless and demonstrate a conscious disregard
of or indifference to the life rights and safety of Mr. McCloe and others, which
Disney knew, or should have known, is reasonably likely to result in injury,
damage or death. 'Accordingly, Mr. McCloe demands punitive damages

WHERli}FORE, the Plaintiff, Jason McCloe hereby seek all damages
allowed under the laws of the Commonwealth of Pennsylvania in addition to
punitive damages from the Defendant, Disney Worldwide Services, Inc., under the
applicable statutes of the Commonwealth of Pennsylvania and the Federal and

Middle District Rules of Court

Respectfully submitted,

am

EDwARD J.\eiAer\/reorr, EsQUiRE
Pa. Bar ID# 85904 ,.

GREGORY E. FELLERMAN, ESQUIRE
PA. Bar ID#81568

COREY S. SUDA, ESQUIRE

Pa. Bar ID# 321940

Fellerman & Ciarimboli Law, P.C.

183 Market Street, Suite 200

Kingston, PA 18704

 

69

Case 3:17-cV-01995-ARC Document 1 Filed 10/31/17 Page 70 of 70

flater

 

NEIL T. O’DONNELL, ESQUIRE

Pa. Bar ID# 56509

l\/l_lCHAEL A. O’DONNELL, ESQUIRE
Pa. Bar ID# 306878

O’Donell Law Offices

267 Wyoming Avenue

Kingston, PA 18704

 

 

JOSEPH V. CAl\/[ERLENGO, ESQUIRE
Camerlengo & Anderson, P.L.

1200 Riverplace Boulevard, Suite 902 -
Jaeksonville, FL 33207

70

